                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                           3:96-CR-0066


SAMUEL D. FLEMING,        )
                          )
     Petitioner,          )
                          )
            v.            )
                          )                O R D E R
UNITED STATES OF AMERICA, )
                          )
     Respondent.          )
                          )


     THIS MATTER comes before the Court on Petitioner’s Motion to
Correct Pursuant to Rule 36 of the Federal Rules of Criminal
Procedure, filed May 9, 2003.
     Petitioner was convicted of three counts of conspiracy to
possess with intent to distribute cocaine and cocaine base within
1,000 feet of a school after entering a straight-up guilty plea on
January 17, 1997.    Petitioner was sentenced to concurrent 97 month
sentences on October 28, 1997.    Petitioner made no direct appeal.
Petitioner chose instead to file a Motion to Vacate under 28 U.S.C.
§ 2255 on February 5, 2001.       This Motion was filed after the
statute of limitations had run, and was denied as untimely.
    In his present Motion, Petitioner requests that this Court
declare that a two-point gun enhancement was not imposed at his
sentencing   hearing1.    While   Petitioner’s   pre-sentence   report


     1
     Petitioner suggests Rule 36 as proper for deciding this
issue, but also requests that this Court “look behind the label
of this motion to see if it might be cognizable under a different
remedial statutory framework.” This Court notes that
Petitioner’s Motion would not succeed under 28 U.S.C. § 2255, as
it would be barred by both the statute of limitations and as a
successive motion not certified by a panel of the Fourth Circuit
Court of Appeals. However, the absence of any conflict between


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recommended that Petitioner receive a two-point gun enhancement, he
believes that this Court did not intend to impose the recommended
two-point gun enhancement at his sentencing hearing.                 As such, he
asks this Court, pursuant to Rule 36 of the Federal Rules of
Criminal Procedure, to declare that no enhancement was applied,
thereby correcting an alleged omission or oversight.
     Petitioner’s belief is mistaken.             At Petitioner’s sentencing
hearing, this Court noted: “It’s clear [Petitioner] knew about some
other people and was charged with the enhancement,” indicating that
Petitioner’s    knowledge     of   his    co-conspirators’         possession    of
firearms justified the enhancement (Pet. Ex. A, p. 9).                  The Court
then directed that it be noted in the Judgment and Commitment Order
that Petitioner did not personally possess a firearm, so that the
Bureau of Prisons would be aware that Petitioner, while charged with
a gun enhancement, did not personally possess a firearm during the
conspiracy.
     The Court intended to apply the two-point enhancement while
making it clear to the Bureau of Prisons that Petitioner did not
personally    possess   a   firearm.       The    Petitioner’s      sentence     and
judgment form accurately reflect the undersigned’s intentions.
     THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to
Correct is DENIED.


                                         Signed: August 3, 2006




the Court’s oral sentence and written judgment make any
consideration of this Motion’s procedural defects unnecessary.


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